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                                                                             United 6      Courts
            Sealed
                                                                              Southern District of Texas
Public and unofficial staff access
     to this instrument are                                                            FILED
   prohibited by court order                                                       June 16, 2022
                                                                            Nathan Ochsner, Clerk of Court




                                                                          4:22-cr-282
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       b.      has been transferred or sold to, or deposited with, a third party;

       c.      has been placed beyond the jurisdiction of the court;

       d.      has been substantially diminished in value; or

       e.      has been commingled with other property which cannot be divided without

               difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

2461(c).

       All pursuant to 18 U.S.C. § 98l(a)(l)(C) and 28 U.S.C. § 246l(c).




                                              A TRUE BILL:


                                               Original Signature on file
                                              FOREPERSON OF THE GRAND JURY

JENNIFER B. LOWERY
UNITED STATES ATTORNEY



U,C.,L�r-1.STIAN EDWARDS
           P. PEARSON
Assistant United States Attorneys




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